Case: 1:19-cv-04082 Document #: 148 Filed: 01/30/22 Page 1 of 19 PageID #:2585

                                                                                 1

   1                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
   2                              EASTERN DIVISION
   3
        MARCEL BROWN,                                 )   No. 19 C 4082
   4                                                  )
                             Plaintiffs,              )
   5                                                  )
                       vs.                            )   Chicago, Illinois
   6                                                  )
        CITY OF CHICAGO, et al.,                      )
   7                                                  )   January 11, 2022
                             Defendants.              )   1:45 p.m.
   8
   9                           TRANSCRIPT OF PROCEEDINGS
                             BEFORE THE HON. SARA L. ELLIS
 10
       APPEARANCES:
 11
       For the Plaintiff:          MR. LOCKE E. BOWMAN III
 12                                Roderick and Solange MacArthur
                                   Justice Center,
 13                                Northwestern University School of Law,
                                   160 East Grand Avenue, 6th Floor,
 14                                Chicago, Illinois 60611
 15
       For Defendant
 16    Spizzirri:                  MR. PETER J. O'MARA
                                   MS. MARGARET A. HAYES
 17                                O'Mara, Gleason & O'Callaghan, LLC,
                                   230 West Monroe Street, Suite 2620,
 18                                Chicago, Illinois 60606
 19
 20
 21
 22
                                  PATRICK J. MULLEN
 23                            Official Court Reporter
                             United States District Court
 24                      219 South Dearborn Street, Room 1412
                               Chicago, Illinois 60604
 25                               (312) 435-5565
Case: 1:19-cv-04082 Document #: 148 Filed: 01/30/22 Page 2 of 19 PageID #:2586

                                                                                 2

   1          (Telephonic proceedings on the record.)
   2               THE CLERK: 2019 CV 4082, Brown versus City of
   3   Chicago.
   4               MR. O'MARA: Good morning. This is Peter O'Mara on
   5   behalf of the movant, Michelle Spizzirri.
   6               MS. HAYES: Good morning. This is Margaret Hayes also
   7   on behalf of Michelle Spizzirri.
   8               MR. BOWMAN: Locke Bowman, Your Honor, on behalf of
   9   Marcel Brown and also a movement with respect to a separate
 10    motion.
 11                THE COURT: All right. Good morning.
 12                Okay. So we've got defendant's motion for leave to
 13    file excess pages and their motion to dismiss, and then we've
 14    got plaintiff's motion to strike that motion. So my question
 15    to the defendants is this. When you wanted to file a 12(c)
 16    motion, I essentially said that I can't review the videotape
 17    and interpret any of the interactions that occurred on that
 18    tape to determine at the motion to dismiss stage whether the
 19    defendant should be made to answer the complaint or whether the
 20    plaintiff has failed to state a claim, that it seemed to me
 21    what the defendant was asking me to do was to convert this into
 22    a summary judgment motion, which I'm not going to do at this
 23    stage.
 24                If the defendants believe that they could move forward
 25    on a summary judgment motion and that there's enough factual
Case: 1:19-cv-04082 Document #: 148 Filed: 01/30/22 Page 3 of 19 PageID #:2587

                                                                                 3

   1   record developed at this point to do that, then go ahead and do
   2   it. If the plaintiff, however, then makes a motion saying he
   3   can't respond because we're still in the middle of discovery
   4   and there's more facts needed to be developed, then I would
   5   allow the plaintiffs to do that.
   6               So having kind of gone through that previously on your
   7   12(c) motion, I'm not sure why it is the defendant then turned
   8   around and filed a 12(b)(6) motion essentially asking me to do
   9   the same thing that I said I wasn't going to do.
 10                MR. O'MARA: Yes, Your Honor. I would just articulate
 11    that there was a different sort of procedural posture.
 12    Contemporaneously with the last motion, the plaintiff was
 13    seeking leave to file a second amended complaint, and I think
 14    that was part of the calculus. The 12(c) would not be
 15    responsive to the operative complaint when leave was granted to
 16    file the amended complaint.
 17                Respectfully, it is true that you stated the Court
 18    can't consider anything beyond the four corners of the
 19    complaint for the purposes of a motion to dismiss, but the
 20    Court laid out the exception, which is unless the plaintiff
 21    referenced the video, the extrinsic record, in the complaint
 22    and that ERI, the video record, refutes the allegations in the
 23    complaint, that that would be the only circumstance under which
 24    the Court would consider that evidence as part of a motion to
 25    dismiss.
Case: 1:19-cv-04082 Document #: 148 Filed: 01/30/22 Page 4 of 19 PageID #:2588

                                                                                 4

   1               That is precisely what we've done. We have pointed
   2   out, you know, in the attached 12(b)(6) as an exhibit that the
   3   video is expressly referenced in the complaint and referred to
   4   many, many times throughout the complaint. Many paragraphs of
   5   the complaint refer to conduct that is depicted in that video,
   6   and the express articulation at paragraph 39 of the currently
   7   operative second amended complaint states that the
   8   interrogation was recorded on video.
   9               So we've met the two elements of the exception you
 10    laid out in your order, that unless the plaintiff references
 11    the extrinsic record in the complaint and those records refute
 12    the allegations in the complaint we're out of luck. But we're
 13    not out of luck because that is precisely what has occurred
 14    here.
 15                As to the plaintiff's claim that we failed on the
 16    second prong, that we didn't give any instances where the
 17    content of the video contradicts the substance of allegations
 18    contained in the complaint, we have. You know, at pages 24 and
 19    25, we lay out seven or eight specific instances where it would
 20    not require the Court to engage in any interpretation of facts,
 21    just merely reviewing the video.
 22                You know, for example, we discuss that they allege
 23    that our client provided the plaintiff with false information.
 24    That is refuted by the video. That the plaintiff spoke with a
 25    raised or angry voice, that is refuted by the video. That
Case: 1:19-cv-04082 Document #: 148 Filed: 01/30/22 Page 5 of 19 PageID #:2589

                                                                                 5

   1   doesn't require interpretation by the Court. Just watch the
   2   video and you'll see that those allegations are contradicted by
   3   the objective recording of the events that occurred that are
   4   alleged against our client.
   5               Now, as to some of the other defendants, there are
   6   allegations about conduct engaged in, you know, potentially
   7   constitutionally violative conduct that occurred outside of
   8   that interview room and, therefore, are not depicted on the
   9   video. But all of the allegations as to ASA Spizzirri have to
 10    do with what happened in that room for the 68 minutes she was
 11    in the room, and there is no better evidence than the objective
 12    video recording.
 13                Because the principles of absolute and qualified
 14    immunity provide protection from suit, we do feel that it is
 15    the appropriate procedural juncture now that there's a second
 16    operative complaint and we are responsively pleading with a
 17    12(b)(6) and have met the two prongs of the test that the Court
 18    laid out, that the complaint expressly refers to the recorded
 19    video and then relies on allegations that are depicted on that
 20    video throughout the entire complaint which are contradicted
 21    when viewing the video. This is the exact scenario that the
 22    Court laid out, so that is our position.
 23                THE COURT: All right. Mr. Bowman, go ahead.
 24                MR. BOWMAN: Judge, you got it right in the order that
 25    you entered earlier in this case on November 29, 2021. The
Case: 1:19-cv-04082 Document #: 148 Filed: 01/30/22 Page 6 of 19 PageID #:2590

                                                                                 6

   1   basic idea of a 12(b)(6) motion, just like a 12(c) motion, is
   2   to attack the sufficiency of allegations that have been made in
   3   the complaint. So it's a discussion about what is alleged in
   4   the complaint. That can encompass additional material under
   5   very limited circumstances. Where, for example, a contract is
   6   attached to the complaint and incorporated by reference, the
   7   discussion about the sufficiency of the allegations can include
   8   that contract. That's basically what a 12(b)(6) motion is
   9   about, what's alleged.
 10                A Rule 56 motion isn't about what is alleged. It's
 11    about what actually happened in the underlying circumstances.
 12    What Mr. O'Mara's motion wishes to engage the Court in is a
 13    consideration of what actually happened, and that is the
 14    province of a Rule 56 motion. There are very limited
 15    circumstances in which material that is not incorporated by
 16    reference into a complaint may be considered as part of a
 17    12(b)(6) "what is alleged" discussion, and that is a situation
 18    where the moving party can point to a document that
 19    specifically contradicts what is alleged in the complaint.
 20                So the classic example of that would be a securities
 21    fraud case based on statements that are made in a prospectus or
 22    in an SEC filing that happens not to be attached to the
 23    complaint, but when it is examined it can be shown to be flatly
 24    inconsistent with what is alleged in the complaint.
 25                One of the cases that we cited in our earlier filing
Case: 1:19-cv-04082 Document #: 148 Filed: 01/30/22 Page 7 of 19 PageID #:2591

                                                                                 7

   1   makes the point that the reason for this very narrow exception
   2   is to avoid gamesmanship, so where a plaintiff makes an
   3   allegation that is factually false.
   4               The problem with this 34-hour videotape is that
   5   consideration of the video involves an interpretation
   6   essentially of what happened. Mr. O'Mara says that voices are
   7   raised and threatening. Mr. Brown in his deposition affirms
   8   that that is how he perceived the situation. Or say I say that
   9   and then Mr. O'Mara says: No, that's not the case. In our
 10    interpretation of the video, it's different.
 11                Then the discussion becomes a discussion about what
 12    happened. Is it the way we described it, or is it the way that
 13    Mr. O'Mara in his motion describes it? In the context of
 14    summary judgment, we can decide whether there is a basis for
 15    competing inferences and that summary judgment should be denied
 16    or whether, on the other hand, only one interpretation is
 17    supported by the undisputed facts.
 18                But what we are doing here is we are going around a
 19    conversation that, you know, you already put an end to back in
 20    November. One of the points that we made in our earlier
 21    pleading is that this is not only a convoluted and confusing
 22    way to proceed, it's a very unfair way to proceed because a
 23    full and complete understanding of the interrogation and what
 24    happened involves an appreciation of events that took place and
 25    conversations that occurred outside the range of the camera.
Case: 1:19-cv-04082 Document #: 148 Filed: 01/30/22 Page 8 of 19 PageID #:2592

                                                                                 8

   1   Mr. O'Mara wants to cut that evidence out and do some kind of,
   2   you know, limited summary judgment motion where only part of
   3   the presentation is placed in front of the Court.
   4               By way of example, Mr. O'Mara says that there was no
   5   coordination between Spizzirri and the police defendants.
   6   Well, we have evidence outside the context of the video that
   7   disproves that assertion. Mr. O'Mara wants this considered,
   8   you know, without our having an opportunity to present that
   9   other evidence to you by saying, you know, just look at the
 10    video, and that just gets us into a discussion that's not only
 11    fair -- unfair but can lead to error.
 12                Another very central problem that Mr. O'Mara's motion
 13    does not come to terms with is the reality that there is a
 14    conspiracy allegation in this case. So we allege that
 15    Ms. Spizzirri joined a conspiracy with the police defendants to
 16    coerce a confession and to fabricate evidence. There is a
 17    basis for that allegation. It's predicated, as I said, in part
 18    on events occurring outside the range of the video.
 19                If there is, indeed, a conspiracy, then isolating
 20    Ms. Spizzirri's actions from the actions of the other
 21    defendants is improper. So this, you know, idea that you can
 22    segregate her out and consider her in isolation is inconsistent
 23    with the facts that are alleged.
 24                I fear I've gone on too long, but we object to this in
 25    the most strenuous terms. We objected to it initially, and we
Case: 1:19-cv-04082 Document #: 148 Filed: 01/30/22 Page 9 of 19 PageID #:2593

                                                                                 9

   1   doubly object now because we're going over the same ground
   2   twice and that shouldn't be necessary.
   3               THE COURT: All right. Thank you.
   4               You know, I'm just looking at the 12(b)(6), and I'm
   5   looking at page 29. The first sentence -- actually, the first
   6   two sentences show why this is a problem. It says:
   7               "Looking at the foregoing circumstances in their
   8   totality in light of the ERI evidence which refutes many
   9   allegations in plaintiff's complaint, plaintiff's will was not
 10    overborne. Spizzirri did not participate in or cause a
 11    coercive interrogation that rendered plaintiff's confession
 12    involuntary."
 13                The only way that I would know that is if I look at
 14    the video and then interpret the interactions in the video. If
 15    there was a contract, then I'd just simply be looking at the
 16    plain language of the contract. That's why it's okay if a
 17    plaintiff references a contract in a complaint. I could look
 18    at the contract and see what's the plain language of the
 19    contract. I don't have to get into the parties'
 20    interpretations. I don't have to look at what they mean. I
 21    just have to look at what the language says, and it either says
 22    what it says and is consistent with the plaintiff's allegations
 23    or it doesn't.
 24                Here, though, I'm looking at and would be asked to
 25    determine whether the defendant's conduct during this
Case: 1:19-cv-04082 Document #: 148 Filed: 01/30/22 Page 10 of 19 PageID #:2594

                                                                                  10

   1    interrogation was coercive. So then I have to interpret what
   2    the tone of her voice was. Did it appear to be coercive to me?
   3    Did it appear to be -- would it have been coercive to the
   4    plaintiff? Is it reasonable for the plaintiff to believe that
   5    he was being coerced? Is there information that she had that
   6    she withheld which made it coercive which I wouldn't know from
   7    just watching the video? All of that is asking me essentially
   8    to say: Can the plaintiff prove the allegations in his
   9    complaint through this video or not?
  10               There's so much more to this case than the video
  11    itself, and a 12(b)(6) motion is not the place to be asking can
  12    the plaintiff prove its allegations. The standard is: Do we
  13    know what the allegations are? Is it a short and plain
  14    statement so you know what the allegations are, and are they
  15    allegations that may or may not be proved later during
  16    discovery but essentially aren't outlandish? Is there some
  17    reasonable basis to make these allegations?
  18               That's the point of a 12(b)(6) motion, and that was
  19    the same issue that we had when it was a 12(c) motion and you
  20    were looking for judgment on the pleadings. Nothing has
  21    changed other than that plaintiff at this point is not seeking
  22    to file an amended complaint, but that didn't weigh heavily in
  23    my decision-making process the last time. It really is that
  24    what you're asking me to do in reviewing the video is say based
  25    on the video that there's no way the plaintiff can prove his
Case: 1:19-cv-04082 Document #: 148 Filed: 01/30/22 Page 11 of 19 PageID #:2595

                                                                                  11

   1    complaint, the allegations in his complaint.
   2               It would be one thing if this was a video where it
   3    showed presumptively that the defendant wasn't there and they
   4    relied on the video, referenced the video in the complaint, and
   5    the video showed beyond a doubt that she wasn't even there.
   6    Then perhaps I could look at the video and make a ruling, but
   7    here it is completely different. You are asking me to
   8    interpret their interactions and determine whether it's
   9    coercive or not.
  10               MR. O'MARA: Your Honor, if I may?
  11               THE COURT: Go ahead.
  12               MR. O'MARA: This is akin to the analogy you just laid
  13    out where somebody is -- you know, where somebody alleges that
  14    Michelle Spizzirri was in the room when she was not, in fact,
  15    in the room. We're not asking for factual interpretations for
  16    most of these allegations. They are -- the cases cited by
  17    Mr. Bowman, in particular the Jackson v. Curry case, you know,
  18    which internally cites to Scott v. Harris, talks about whether
  19    or not the video contradicts essential details of the
  20    plaintiff's account, and these don't require interpretation.
  21               The first referenced case, Jackson v. Curry, first of
  22    all, Mr. Bowman mischaracterized the Seventh Circuit as having
  23    approved of the district court's decision not to review the
  24    ERI, but that's not what happened. They found they didn't have
  25    jurisdiction because it wasn't a final order.
Case: 1:19-cv-04082 Document #: 148 Filed: 01/30/22 Page 12 of 19 PageID #:2596

                                                                                  12

   1               But setting that aside, the reason that the district
   2    court didn't review the video is because the key issue there
   3    did require a fact-intensive inquiry, which was whether or not
   4    the person being interviewed, the plaintiff, was intoxicated.
   5    So that requires a judgment. We have whole trials about
   6    whether or not somebody is intoxicated.
   7               That's not what we're seeking here. The specific
   8    allegations that are contradicted by the video are core kernel
   9    facts that are cornerstones to their complaint. You know, they
  10    are alleging that Michelle Spizzirri threatened the plaintiff
  11    with prison. She did not. The only time the word "prison"
  12    came up is when the plaintiff brought it up. You know, that
  13    she mocked or belittled the plaintiff, that doesn't require
  14    interpretation. Did she ever mock or belittle him? That she
  15    provided him with false information, she did not. That is not
  16    contained in the video.
  17               THE COURT: Hold on. Hold on, Mr. O'Mara. When you
  18    say things like "did she ever mock or belittle him," I don't
  19    know if you have children, but my children sometimes say to me:
  20    Why are you yelling at me?
  21               Then I will look at them and say: I wasn't yelling
  22    you at all. If you want me to, I can yell, but that wasn't
  23    yelling.
  24               MR. O'MARA: Yes, I'm familiar with that scenario.
  25               THE COURT: Okay? I know I wasn't yelling. I'm fully
Case: 1:19-cv-04082 Document #: 148 Filed: 01/30/22 Page 13 of 19 PageID #:2597

                                                                                  13

   1    capable of yelling when I want to, and I wasn't yelling. But
   2    to my daughter who is hearing a disapproving tone in my voice,
   3    that to her is yelling.
   4               MR. O'MARA: I agree with that. I agree with that. I
   5    inartfully left out a part of their allegation, which is not
   6    merely that Spizzirri mocked or belittled plaintiff but
   7    specifically that she mocked or belittled plaintiff for wanting
   8    to call his mother. That never happened. It never happened.
   9    It is flatly contradicted.
  10               The only time a conversation about a phone call came
  11    up was, again, by the plaintiff, and ASA Spizzirri said: I'll
  12    see about the detectives getting you a phone call.
  13               That is the only mention of the word "phone" during
  14    the entire time she's in the room. So it is not a
  15    characterization of: Does this constitute mocking or
  16    belittling? It depends. It's in the eyes of the beholder.
  17               No, it's a specific allegation, mocking or belittling
  18    him for wanting to call his mother, and it never happened.
  19               The video, you know, Mr. Bowman brought up the issue
  20    of the case law that discusses gamesmanship, the Tierney v.
  21    Vahle case, and he mentions that and articulates a quote saying
  22    that, you know, the reason such a rule, this incorporation
  23    doctrine, exists is so that the plaintiff could -- you know,
  24    otherwise, the plaintiff could evade dismissal by failing to
  25    attach to its complaint any documents or records that proved
Case: 1:19-cv-04082 Document #: 148 Filed: 01/30/22 Page 14 of 19 PageID #:2598

                                                                                  14

   1    his claim or the allegations had no merit.
   2               That's exactly what they've done. They had this video
   3    and they had this transcript at the time they drafted their
   4    first complaint and the second complaint and now the second
   5    amended complaint. They used it in proceedings below at
   6    post-conviction, and they opted not to give it to the Court
   7    even though -- I should not say "even though" but because it
   8    just flatly contradicts cornerstone allegations against
   9    Ms. Spizzirri.
  10               So these are very discrete and are not subject to
  11    interpretation or interpretation is not required to determine
  12    is it true. Did she, you know, mock him for wanting to call
  13    his mother? Did she threaten him with prison? No and no.
  14    It's not in the video. It's not in the transcript.
  15               So the only way they can make those allegations is by
  16    engaging in the very gamesmanship that Mr. Bowman is saying,
  17    you know, the case law exists to avoid. They can't make these
  18    allegations if they attached the video to their complaint.
  19    They, again, expressly referred to the existence of this video
  20    and referred back to it in terms of describing conduct that's
  21    allegedly on the video, but it is not if the Court were to
  22    review the video.
  23               So I understand the reluctance when it comes to the
  24    broader issue of was there coercion, but the factual building
  25    blocks that form the basis of the allegations in the complaint
Case: 1:19-cv-04082 Document #: 148 Filed: 01/30/22 Page 15 of 19 PageID #:2599

                                                                                  15

   1    are contradicted by the video. That is our position.
   2               You know, in terms of the Court's articulation in the
   3    order, the only exception is if the plaintiff references the
   4    extrinsic records in the complaint and those records refute the
   5    allegations in the complaint. That's precisely the situation
   6    here, and that's precisely what we've pled.
   7               So I understand the Court's reluctance, and I really
   8    do feel like it wasn't a ruling on the merits at the last
   9    procedural juncture because of the -- because there were, you
  10    know, contemporaneous motions and the plaintiff was seeking to
  11    file an amended complaint. Well, they've now filed that, and
  12    we have the right to represent our client by responding with a
  13    12(b)(6) articulating the exact exception that the Court laid
  14    out.
  15               So in our view this does not require any
  16    interpretation. You know, just make a bucket of popcorn and
  17    pop the video in for the 68 minutes. It speaks for itself.
  18    She did not engage in any unconstitutional behavior or conduct.
  19               MR. BOWMAN: Your Honor, may I respond briefly --
  20               THE COURT: Go ahead.
  21               MR. BOWMAN: -- because there is a record being made
  22    here?
  23               THE COURT: Go ahead.
  24               MR. BOWMAN: I just need to say that what is not
  25    appreciated in the comments that were just made is that there
Case: 1:19-cv-04082 Document #: 148 Filed: 01/30/22 Page 16 of 19 PageID #:2600

                                                                                  16

   1    is a claim against all of the defendants who participated in
   2    the interrogation for a conspiracy, a conspiracy to coerce a
   3    confession and create fabricated evidence.
   4               When conspiracies are properly alleged and when they
   5    can be proven, the result is that each co-conspirator is liable
   6    for the acts of every other participant in the conspiracy.
   7    That's bedrock law, and that principle made us comfortable
   8    making allegations regarding the course of the interrogation
   9    that pertained generically to all of the co-conspirators, both
  10    the police and Ms. Spizzirri.
  11               So Mr. O'Mara's contentions that we are engaging in
  12    gamesmanship and making false allegations in this complaint are
  13    intemperate and unwarranted and reflect a misunderstanding of
  14    the law that undergirds our position in this case. I realize
  15    that that's a side point, but I didn't want those observations
  16    to go un-responded to since we are making a record here. Thank
  17    you for allowing me to respond, Your Honor.
  18               THE COURT: All right. So, Mr. O'Mara, I understand
  19    the point you're making. However, I still do not believe that
  20    at this point it's appropriate for me to review the videotape
  21    and decide whether your client is liable based on the
  22    interactions between herself and the plaintiff on the
  23    videotape. I just still have very significant concerns about
  24    the appropriateness of that given the procedural posture.
  25               MR. O'MARA: I understand.
Case: 1:19-cv-04082 Document #: 148 Filed: 01/30/22 Page 17 of 19 PageID #:2601

                                                                                  17

   1               THE COURT: So, you know, I can't stop you from filing
   2    a 12(b)(6). If you want to file it, you certainly can, but I
   3    think it would be more efficient essentially to focus on the
   4    case and get it to a point of summary judgment and file a
   5    summary judgment motion. But I'll leave that to -- I mean, if
   6    you want to file it, you can certainly file it. I can't
   7    prevent you from filing it, but I think you know where I'm
   8    going.
   9               MR. O'MARA: Yes, I do, although I'm uncertain about
  10    one thing. If we were to file the 12(b)(6), am I to understand
  11    that we would have to omit reference to the video or any
  12    citations to the video or transcript and just make pure legal
  13    arguments based on immunity, for example?
  14               THE COURT: Correct.
  15               MR. O'MARA: I think that would obviate the need for
  16    us to exceed a page limit if we were to file it, but in the
  17    event we do go over by a few pages, would the Court entertain
  18    that if we strip out any mention of the video?
  19               THE COURT: Sure.
  20               MR. O'MARA: Thank you.
  21               THE COURT: That's fine. So, you know, I'll leave it
  22    to your discretion about what you want to do with that.
  23               So let's see what we're doing here. So where are you
  24    at this point -- and I'm just looking at my notes -- in
  25    discovery?
Case: 1:19-cv-04082 Document #: 148 Filed: 01/30/22 Page 18 of 19 PageID #:2602

                                                                                  18

   1               MR. BOWMAN: Judge, I don't believe -- we have a
   2    little bit of time left for additional discovery, I think
   3    through the end of March or thereabouts, and I think that it's
   4    entirely possible that we'll require some additional time
   5    because of the fact that there are a number of witnesses in
   6    this case who are, you know, frankly difficult to pin down and
   7    that we may before discovery closes need to take measures to
   8    compel compliance with subpoenas and the like. So we've done a
   9    lot, but there are a number of lay witnesses whose testimony
  10    we'll need to complete the picture.
  11               THE COURT: Okay. All right. So now looking at what
  12    it says, we've got fact discovery closing on April 1st. So,
  13    yes, if you're having a hard time pulling people together, you
  14    know, certainly if you need the Court's assistance do that
  15    sooner rather than later.
  16               MR. BOWMAN: Understood.
  17               MR. O'MARA: Thank you, Your Honor.
  18               THE COURT: All right. So then it looks like I will
  19    be seeing you April 5th, if not before. All right. Thanks,
  20    everybody.
  21               MR. O'MARA: Thank you, Your Honor.
  22               MR. BOWMAN: Thank you, Judge.
  23               MS. HAYES: Thank you.
  24          (Proceedings concluded.)
  25
Case: 1:19-cv-04082 Document #: 148 Filed: 01/30/22 Page 19 of 19 PageID #:2603

                                                                                  19

   1                               C E R T I F I C A T E
   2               I, Patrick J. Mullen, do hereby certify that the
   3    foregoing is a complete, true, and accurate transcript of the
   4    proceedings had in the above-entitled case before the Honorable
   5    SARA L. ELLIS, one of the judges of said Court, at Chicago,
   6    Illinois, on January 11, 2022.
   7
   8                                      /s/ Patrick J. Mullen
                                          Official Court Reporter
   9                                      United States District Court
                                          Northern District of Illinois
  10                                      Eastern Division
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
